




02-12-525-CR









 
  
  
   
    
    
    
    
    
   
  
  
  
  COURT OF APPEALS
  SECOND DISTRICT OF TEXAS
  FORT WORTH
  &nbsp;
  
 


&nbsp;

&nbsp;

NO. 02-12-00525-CR

&nbsp;

&nbsp;


 
  
  Freddie Lee Tubbs
  
  
  &nbsp;
  
  
  APPELLANT
  
 
 
  
  &nbsp;
  V.
  &nbsp;
  
 
 
  
  The State of Texas
  
  
  &nbsp;
  
  
  STATE 
  
 


&nbsp;

&nbsp;

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&nbsp;

FROM THE 97th
District Court OF Montague COUNTY

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MEMORANDUM
OPINION[1] AND
JUDGMENT

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We
have considered appellant’s “Motion To Dismiss.”&nbsp; The motion complies with rule
42.2(a) of the rules of appellate procedure.&nbsp; Tex. R. App. P. 42.2(a).&nbsp; No decision of this
court having been delivered before we received this motion, we grant the motion
and dismiss the appeal.&nbsp; See Tex. R. App. P. 42.2(a), 43.2(f).

&nbsp;

PER
CURIAM

PANEL:&nbsp; MEIER, J.; LIVINGSTON, C.J.; and GABRIEL, J.

&nbsp;

DO NOT PUBLISH

Tex. R. App.
P. 47.2(b)

&nbsp;

DELIVERED: March 14, 2013 









[1]See Tex. R. App. P. 47.4.







